      Case 1:18-cv-11642-VM-DCF Document 170 Filed 10/14/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                               Plaintiff,
                -against-                               Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                               DECLARATION OF MICHAEL
                                                        JAMES MALONEY IN SUPPORT
                               Defendants,              OF MOTION FOR
                                                        INDEMNIFICATION PENDENTE
                -and-
                                                        LITE
 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

                                Nominal Defendant.


       MICHAEL JAMES MALONEY declares, pursuant to 28 U.S.C. 1746, as follows:

       1.      I am an attorney duly admitted to practice law before the United States District

Court for the Southern District of New York. I am a partner of Felicello Law P.C. and counsel of

record for Defendant Vincent Wenyong Shi (“Mr. Shi”).

       2.      I make this declaration in support of Mr. Shi’s motion for an Order declaring that

Mr. Shi is entitled to indemnification for legal fees and expenses pendente lite and directing Robert

W. Seiden, the court-appointed receiver (the “Receiver”), to reimburse Mr. Shi for legal fees paid

through September 30, 2020 in the amount of $208,474.76 and to pay upon presentment invoices

for legal fees and expenses incurred by Mr. Shi in connection with this action.

       3.      Annexed hereto as Exhibit A is a true and correct copy of the Indemnification

Agreement for Directors and Officers, effective as of March 10, 2011, by and between Link Motion

Inc., f/k/a Netqin Mobile Inc. (“LKM”) and Mr. Shi (the “Indemnification Agreement”).



                                                 1
       Case 1:18-cv-11642-VM-DCF Document 170 Filed 10/14/20 Page 2 of 3




       4.      Annexed hereto as Exhibit B is a true and correct copy of the Form 6-K which was

filed by the Receiver with the S.E.C. on March 26, 2019.

       5.      Annexed hereto as Exhibit C is a true and correct copy of a letter dated February

5, 2020 from me to the Receiver.

       6.      Annexed to Exhibit C is a true and correct copy of a Client Ledger Report showing

the legal fees and expenses incurred by Mr. Shi to CKR Law LLP in the amount of $116,954.76.

These legal fees and expenses were incurred in connection with the defense of the claims asserted

against Mr. Shi in this action.

       7.      Annexed hereto as Exhibit D is a true and correct copy of a letter from the Receiver,

dated February 18, 2020.

       8.      Annexed hereto as Exhibit E is a true and correct copy of a letter from me to the

Receiver, dated April 23, 2020.

       9.      Annexed to Exhibit E is a true and correct copy of an undertaking by Mr. Shi to

repay to LKM amounts advanced to him under the Indemnification Agreement in the event it is

later determined that Mr. Shi is not entitled to indemnification in connection with this action.

       10.     Annexed to Exhibit E is a true and correct certification by Mr. Shi confirming that

the payments made to CKR Law LLP for legal fees and expenses were made from personal funds

belonging to Mr. Shi.

       11.     Annexed hereto as Exhibit F is a true and correct copy of a report from Felicello

Law P.C. setting forth the legal fees paid by Mr. Shi in connection with the defense of the claims

against him in this action during the period from January 1, 2020 through September 30, 2020.

Certain portions of Exhibit F have been redacted pursuant to the attorney-client privilege and work

product doctrines.




                                                 2
      Case 1:18-cv-11642-VM-DCF Document 170 Filed 10/14/20 Page 3 of 3




       12.     In connection with my representation of Mr. Shi, my time has been billed at the

hourly rate of $715. I submit that this rate is reasonable in light of the complexity of the legal

matters at issue in this action and the rates ordinarily charged by attorneys of similar experience

who maintain offices in New York County. I submit that the time devoted to this matter was

reasonable in light of the facts and circumstances.

       13.     On October 14, 2020, I met and conferred by telephone with Dov Gold, counsel for

the Receiver, regarding the relief requested herein. I was advised that the Receiver would not

consent to the relief requested herein.

       WHEREFORE, Mr. Shi respectfully requests the Court to enter an Order (1) declaring that

Mr. Shi is entitled to advancement from funds belonging to the Company for the legal fees and

costs incurred in connection with the defense of the claims against him in this action; (2) directing

the Receiver to pay to Mr. Shi, from Company funds, the sum of U.S.$208,474.76, for the legal

fees that he has incurred and paid through September 30, 2020; and (3) directing the Receiver to

pay upon presentation future invoices for legal fees and expenses incurred by Mr. Shi in connection

with this action, and granting such other and further relief as the Court deems just and proper.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on: October 14, 2020

                                                              /s/ Michael James Maloney
                                                              Michael James Maloney




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